 5

 6   DAVIDMOSS
 7                      PLAINTIFF
 8   V.                                              Case No.:

 9   ASSOCIATION FINALCIAL SERVICES
10   AlKJAAFS
                                       COMPLAINT FOR CIVIL PENALTIES,
     DANIEL E KOERNER PERSONALLY AND INJUNCTIVE AND OTHER RELIEF
11   AS OWNER OF ASSOCIA nON FINALCIAL
12   SERVICES AlKJA AFS                Demand for Jury trial
13   WILSHIRE PARK HOMEOWNERS
     ASSOCIATION INC.
14   HAROLD WALKER PERSONALLY AND IN
15   HIS PROFRSSIONAL CAPICITY AS CFO OF
     WILSHIRE PARK HOMEOWNERS
16   ASSOCIATION INC
17   WISCHAL JOSHI PERSONALLY AND IN
     HIS PROFRSSIONAL CAPICITY AS CEO
18   WILSHIRE PARK HOMEOWNERS
     ASSOCIATION INC
19

20
                       DEFENDANT(S).

21

22          PLAINTIFF'S COMPLAINT FOR CML PENALTIES, INJUNCTIVE
                             AND OTHER RELIEF
23

24        Now comes the plaintiff, David Moss (alleged conswner), by way of Prose for his

25        complaint against the defendant(s) Association Financial Service a/kIa AFS,
26
          Wilshire Park Homeowners Association, Harold Walker personally and in his
27
          professional capacity as CFO Wilshire Park Homeowners Association,
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 I'
      Wischal Joshi personally and in his professional capacity as CEO Wilshire Park
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      Homeowners Association and Daniel E Koerner personally and in his professional
 3
      capacity as Owner Association Financial Service aIkIa AFS.
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 5
      Alleges as follows:

 6                             JURISDICTION AND VENUE
 7
      1.     This is an action arising under the Fair Debt Collection Practices Act
 8
      ("FDCPA"), 15 U.S.C. §§ 1692-1692p, to obtain monetary civil penalties, a permanent
 9
      injunction, restitution, disgorgement, FDCPA, and Section 5 of the FTC Act. and other
10

11    equitable relief for defendants' violations of the FDCPA, and Section 5 of the FTC Act.

12    2.     This Court has jurisdiction over this matter under 28 U.S.C. §§ 1331,
13
      1337(a), 1345, and 1355, and under 15 U.S.C. §§ 45(a)(1), 45(m)(1)(A), 53(b), 57b,
14
      1681s, and 16921.
15
      3.     Personal jurisdiction exists over defendant( s) as they had the necessary minimum
16

17    contacts with the State of Georgia and this suit arises out of their specific conduct with

18    plaintiff in Georgia. All the actions described in this suit occurred in Georgia.
19
      4.     Subject matter jurisdiction exists under federal question jurisdiction (28 U.S.c.
20
      Section 1331) and through diversity jurisdiction (28 U.S.C. Section 1332) as the amount
21

22
      claimed exceeds $75,000.00 between these diverse parties.

23    5.     Of Georgia under 28 U.S.C. §§ 1391(b)-(c), 1395(a), and 15 U.S.C. § 53(b)
24
                                         PLAINTIFF
25
      6.     This action is brought by the plaintiff David Moss a resident of the state of
26
      Georgia. FDCPA, 15 U.S.C. §§ 1692-1692p, which imposes duties upon debt collectors.
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 2
                                       DEFENDANTS

 3   7.      Defendant Wilshire Homeowners Association is a not-for-profit corporation

 4
     organized, existing and doing business under the laws of the State of Georgia. Its
 5
     principal place of business is P.O Box 70907 Marietta, GA 30007. At all times, relevant
 6
     to this complaint, Wilshire Homeowners Association has transacted business in this
 7

 8   District

 9   8.      Defendant Association Financial Service a/k/a AFS is a for-profit corporation
10
     organized, existing and doing business under the laws of the State of Georgia. Its
11
     principal place of business is P.O Box 30007 Marietta, GA 30007. At all times
12
     relevant to this complaint, Association Financial Service aJlk/aJ AFS has transacted
13

14   business in this District.

15   9.      Defendant Daniel E Koerner is owner of Association Financial Service a/k/a AFS
16
     which is a for-profit corporation organized, existing and doing business under the laws of
17
     the State of Georgia. His principal resident is 4207 Kenwyck Court Marietta, GA 30007.
18

19
     At all times relevant to this complaint, defendant Koerner plays an active role in the

20   management of Association Financial Service a/k/a AFS, defendant Koerner, in his
21   capacity as the Owner of Association Financial Service a/k/a AFS formulated,
22
     directed, controlled, had the authority to control, or participated in the debt collection acts
23
     and practices ofAssociation Financial Service a/k/a AFS, including the acts and practices
24

25   alleged in this complaint. Defendant Daniel E Koerner and his business Association

26   Financial Service a/k/a AFS has transacted business in this District.
27
     10.     Defendant Wischal Joshi is Chief Executive Officer (CEO) of Wilshire Park
28
     Homeowners Association his principal address is 333 Sonoma Lane McDonough, Ga
                                           3
 2
     30253, defendant Joshi plays an active role in the management and/or supervision of

 3   Wilshire Park Homeowners Association debt collection activities, defendant Joshi, in his

 4
     capacity as the Chief Executive Officer (CEO) of Wilshire Park Homeowners
 5
     Association fonnulated, conspired, directed, controlled, had the authority to control, or
 6
     participated in the debt collection acts and practices of defendant's Daniel E Koerner and
 7

 8   Association Financial Service, including the acts and practices alleged in this complaint.

 9   At all times, relevant to this complaint; defendant Joshi through defendant's Daniel E
10
     Koerner Association Financial Service a/k/a AFS has transacted business in this District.
11
     11.    Defendant Harold Walker is Chief Financial Officer (CFO) of Wilshire Park
12
     Homeowners Association, his principal address is 190 Napa Dr. McDonough, Ga. 30253
13

14   Defendant Walker plays an active role in the management and/or supervision of Wilshire

15   Park Homeowners Association debt collection activities. Defendant Walker in his
16
     capacity as the Chief Financial Officer (CFO)of Wilshire Park Homeowners Association
17
     fonnulated, conspired, directed, controlled, had the authority to control, or participated
18

19
     in the debt collection acts and practices of defendant's Daniel E Koerner and Association

20   Financial Service a/k/a AFS, including the acts and practices alleged in this complaint.
21   At all times, relevant to this complaint, defendant Walker through Association Financial
22
     Service a/k/a AFS has transacted business in this District.
23
     12.    Defendant Association Financial Service a/k/a AFS and defendant Koerner,
24

25   ("Defendants") are "debt collectors," as defined in Section 803(6) fthe FDCPA, 15

26   U.S.C. § 1692a (6). The tenn "consumer" as used in this complaint, means any natural
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      person obligated or allegedly obligated to pay any debt, as "debt" is defined in Section

 3    803(5) of the FDCPA, I 5 U.S.C. § I 692a (5).

 4
                                        COMMERCE
 5
      13.    At all times material to this complaint, all defendants have maintained a
 6
      substantial course of trade in the collection of debts, in or affecting commerce, as
 7

 8    "commerce" is defined in Section 4 of the FTC Act, 15 U.S.C. § 44.

 9                STATEMENT OF CLAIMS/COURSE OF CONDUCT
10
      14.    Defendant's Daniel E Koerner and Association Financial Service a/k/a AFS
11
      provides collection services to homeowner's associations, attempting to recover
12
      consumer debts, a substantial number of which have previously been placed in collection
13

14    or the homeowner's association could not collect on.

15    15.    Defendant Association Financial Service a/k/a AFS regularly attempts to collect
16
      debts by contacting the consumer by telephone, mail and emaiL
17
      16.    Defendant Daniel E Koerner is a person who regularly and in the ordinary course
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19
      of business threatens consumers with legal actions if they fail to pay the invalidated debt.

20    17.    Since in or about February 2,2017 and in numerous other instances, plaintiff
21    notified defendant's Daniel E Koerner and Association Financial Service a/k/a AFS at the
22
      address specified for such disputes that defendant's Daniel E Koerner and Association
23
      Financial Service a/k/a AFS was attempting to collect a debt that is inaccurate and based
24

25    inaccurate information provided by defendants Wilshire Park homeowner's association,

26    Walker and Joshi, yet defendant's Daniel E Koerner and Association Financial Service
27

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 2
     aJkIa AFS continued to coerce plaintiff to pay through a series postcards and dunning

 3   notice even after receiving such notice from the plaintiff via certified mail disputing the
 4
     debt.
 5
     18.     Since in or about February 2,2017 and in numerous other instances, despite
 6
     written notification from plaintiff disputing the accuracy or completeness of alleged
 7

 8   debts, defendant's Daniel E Koerner and Association Financial Service aJkIa AFS has

 9   continued to characterize the debt as owed by the plaintiff in its collection efforts.
10
     19.     Since in or about February 2, 2017 and in numerous other instances, despite
11
     written or oral notification from plaintiff disputing the accuracy or completeness of
12
     alleged debts, defendant's Daniel Koerner and Association Financial Service aJkIa AFS
13

14   published the debt to the general public via postcard through the US mail and subject the

15   plaintiff to public ridicule.
16
     20.      Defendant's Harold Walker and Wischal Joshi, in their personal and professional
17
     capacity each had the authority to control and direct the debt collection activities of
18

19
     defendant's Daniel Koerner and Association Financial Service aJkIa AFS, or has

20   conspired and participated in the civil racketeering, misrepresentations and other
21   misconduct of defendant's Daniel Koerner and Association Financial Service aJkIa AFS,
22
     in connection with the collection of debts, and knew or should have known of the
23
     misrepresentations and other misconduct of defendant's Daniel E Koerner and
24

25   Association Financial Service aJkIa AFS.
                                         COUNT I
26
       VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
27
     21.     The allegations of paragraphs 1 through 34 of this complaint are re-alleged and
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                                               6
 l'   incorporated by reference. In connection with the collection of a debt, defendants Daniel
 2    E Koerner and Association Financial Service aIkIa AFS , directly or indirectly have used
 3    false, deceptive, or misleading representations or means, in violation of Section 807 of
 4    the FDCPA, 15 U.S.C. § 1692e, including, but not limited to, the following:
 5           a In numerous instances, defendants, directly or indirectly, have used
 6              false representations concerning the character, amount, or legal status.
 7
             b. In numerous instances, defendants, directly or indirectly, have failed
 8              to communicate to the CRA to which it reported a debt that the debt is
 9             disputed, in violation of Section 807(8) of the FDCPA, 15 U.S.C.§ 1692e (8).
10           c. In numerous instances, defendants, directly or indirectly communicated with
11           plaintiff regarding the alleged debt by postcard.
12            d. In numerous instances, defendants, directly or indirectly fail to disclose in all
13           communications with plaintiff that he or she is a debt collector and, in the
14
             first communication with the plaintiff, that he or she is attempting to collect a
15           debt and that any information obtained will be used for that purpose.
16    22.    The acts and practices alleged in Paragraph 21 constitute violations of
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      Section 807 of the FDCPA, 15 U.S.C. § 1692e. Pursuant to Section 814(a) of the
18    FDCPA, 15 U.S.C. § 16921(a), the acts and practices alleged in Paragraph 35 also
19    constitute unfair or deceptive acts or practices in violation of Section 5(a) of the FTC Act
20    15 U.S.C. § 45(a).
21                                         COUNT 2
22                  VIOLATIONS OF SECTION 5 OF THE FTC ACT
23    23.    The allegations of paragraphs 1 through 34 of this complaint are re-alleged and
24    incorporated by reference. Section 5(a) ofthe FTC Act, 15 U.S.C. § 45(a), prohibits
25    "unfair or deceptive acts or practices in or affecting commerce." Representations of
26    material fact that is false or misleading constitute deceptive acts or practices prohibited
27    by the FTC Act. prohibited by the FTC Act.
28    24.     In numerous instances, through the means described in several paragraphs, in the

                                                7
 1   course of collecting debts from plaintiff, defendants, directly and indirectly, have
 2   represented to plaintiff, expressly or by implication, that the debt(s) were/is valid and that
 3   plaintiff had an obligation to pay the debt(s).
 4   25.    In truth and in fact, in numerous instances the material representations set
 5   forth in were false or defendants did not have a reasonable basis for the representations
 6   at the time the representations were made.
 7
     26.    Therefore, the representations set forth were false or misleading and constitute
 8   deceptive acts or practices in violation of Section 5(a) ofthe FTC Act, 15 U.S.C. § 45(a).
 9                                            COUNT 3
10                VIOLATIONS OF GEORGIA DECEPTIVE AND UNFAIR
11                                  TRADE PRACTICES ACT
12   27.    The allegations ofparagraphs 1 through 34 ofthis complaint are re-alleged and
13   incorporated by reference. The actions stated herein and carried out by the defendant(s)
14   were violations of Georgia State and federal law, and are therefore unfair and/or
15   deceptive trade practices as defined by state statute O.C.G.A. 10-1-372 (2010).
16                                            COUNT 4
17
                                           DEFEMATION
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     28.    The allegations of paragraphs 1 through 34 of this complaint are re-alleged and by
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     reference. In connection with the collection of a debt, defendants, directly or indirectly
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     have used false, deceptive, or misleading representations, means, action or other
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     proceeding that constitutes defamation, libel, slander, false fonns of speech, damage to
22
     reputation, emotional distress, presented in a false light, criticism, dishonor and caused
23
     condemnation in violation of28 U.S. Code § 4101.
24
                                              COUNT 5
25
                                     CIVIL RACKETEERING
26
     29     The allegations ofparagraphs 1 through 34 ofthis complaint are re-alleged and
27
     by reference. Because of the defendant's unlawful enterprise and the conduct they were
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 2   engaged in, their actions and activities affected interstate and foreign commerce.
 3   By conspiring to conduct, participate, directly or indirectly in the conduct of such
 4   enterprise's affairs through a pattern ofracketeering activity and collection of unlawful
 5   debt defendant's committed several unlawful acts pursuant to 18 U.S. Code § 1962
 6                                             RELIEF
 7
           INJUNCTION FOR VIOLATIONS OF THE FTC ACT AND mCPA
 8   30.     Under Section 13(b) of the FTC Act, 15 U.S.C. § 53(b), this Court is
 9   authorized to issue a permanent injunction to ensure that: (a) Association Financial
10   Service a!k/a AFS will not continue to violate the FTC Act and the FDCPA and (b)
11   defendant Walker and defendant Joshi will not continue to violate the FTC Act and the
12   FDCPA.
13                EQUITABLE RELIEF FOR VIOLATIONS OF THE
14                               mCPA, AND FTC ACT
15   31.     Under Sections 13(b) and 19 ofthe FTC Act, 15 U.S.C. §§ 53(b) and 57b, this
16   court is authorized to issue all equitable and ancillary relief as it may deem appropriate in
17   the enforcement ofthe FDCPA, and the FTC Act, including the ability to order rescission
18   or reformation of contracts, restitution, the refund of monies paid, and disgorgement to
19   deprive a wrongdoer of ill-gotten gain.
20             CIVIL PENALTIES FOR VIOLATIONS OF THE mCPA
21   32.     Defendant Association Financial Service a!k/a AFS has violated the FDCPA as
22   described above, with actual knowledge or knowledge fairly implied on the basis of
23   objective circumstances, as set forth in Section 5(m)(1)(A) ofthe FTC Act, 15 U.S.C. §
24   45 (m)(1 )(A).
25   33.     Each instance within five (5) years preceding the filing ofthis complaint, in
26   which defendant Association Financial Service a!k/a AFS has failed to comply with the
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 2       FDCPA in one or more of the ways described above, constitutes a separate violation for
 3       which plaintiff seeks monetary civil penalties.
 4       34.      Section 5(m)(1)(A) ofthe FTC Act, 15 U.S.C. § 45(m)(1)(A), Section 814(a) of
 5       the FDCPA, 15 U.S.C. § 16921, and Section 4 of the Federal Civil Penalties Inflation
 6       Adjustment Act of 1990, 28 U.S.C. § 2461, as amended, authorize the Court to award
 7
         monetary civil penalties of not more than $11,000 for each violation of the FDCPA.
 8   PRAYER FOR RELIEF
 9   WHEREFORE,
10       Plaintiff, pursuant to 15 U.S.C. §§ 45(m)(I)(A), 53(b), 16921, 1681s, and the court's own
11       equitable powers, respectfully requests that the Court:
12       1.    Enter a permanent injunction to prevent future violations of the FTC Act,
13             the FDCPA, O.C.G.A. 10-1-372 (2010), and the FCRA by defendant(s);
14       2. Award such relief as the court fmds necessary to redress injury to plaintiff
15             resulting from defendant(s)' violations of the FTC Act, O.C.G.A. 10-1-372 (2010).
16             the FDCPA including but not limited to, rescission or reformation of contracts,
17             restitution, the refund of monies paid, and the disgorgement of ill-gotten gains.
18       3. A ward plaintiff monetary civil penalties for each violation of the FDCPA
19             occurring within five years preceding the filing of this complaint; and
20       4. Award plaintiff monetary civil penalties for each violation of28 U.S. Code § 4101,
21             18 U.S. Code § 1962.
22       5. Award plaintiff the costs of bringing this action, as well as such other and
23             additional relief as the court may determine to be just and proper.
24       6. Award plaintiff attorney fees.
25                                        X David Moss
26                                        DAVID MOSS ProSe
                                          BOX211
27                                        MCDONOUGH, GEORGIA 30253
                                          August 28th, 2017
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